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A0 450 (Rev. 01/09)   Judgment   in a Civil   Action




                                         UNITED STATES DISTCT COURTr
                                                                                                               I   L   Ep
                                                                        for the                             NOV 2 7     201?    /
                                                              Western District of Texas
                                                                                                               us. DISIRI
                                                                                                           'rgN DISTRICT

              WILLIAM PARRISH, et.al.                                      )
                     Plainti/f                                             )
                        v.                                                 )      Civil Action No. SA-1 6-CV-41 7-DAE
        PREMIER DIRECTIONAL DRILLING, L.P.                                 )
                            Defendant                                      )

                                                       JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

11 the plaintiff (name)                                                                                           recover from the
defendant (name)                                                                                                    the amount of
                                                                                  dollars ($            ), which includes prejudgment
interest at the rate of                         %, plus postjudgment interest at the rate of           %, along with costs.

 1   the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                     recover costs from the plaintiff (name)


     other:    The Court GRANT'S Plaintiffs Motion for Summary Judgment, and OVERRULES IN PART, DENIES IN
               PART, and DENIES AS MOOT IN PART Plaintiffs Objections and Motions to Strike. The Court further
               DENIES Defendant's (Premier's) Motion for Summary Judgment, and DENIES AS MOOT Premier's Motion
               to Strike. All pending motions have been ruled upon, Judgment is entered and this case is CLOSED.

This action was (check one):

t1 tried by a jury with Judge                                                                            presiding, and the jury has
rendered a verdict.
O tried by Judge                                                                               without ajury and the above decision
was reached.
1    decided by Judge David Alan Ezra




Date:            11/27/2017                                                       CLERK OF COURT



                                                                                                     Wayne Garcia
                                                                                               S7TTae-9f Clerk
